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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                   Plaintiff,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant.
   ___________________________________/

                THE INDEPENDENT ORDER OF FORESTERS’ MOTION
        FOR SUMMARY JUDGMENT AND INCORPORATED MEMORANDUM OF LAW

          Defendant, The Independent Order of Foresters (“Foresters”) moves for summary
   judgment against Plaintiff Digna Vinas pursuant to Rule 56 of the Federal Rules of Civil Procedure
   (the “Rule(s)”) and Local Rules 7.1 and 56.1, and states:
                                       I.      INTRODUCTION
          This entire action is an improper attempt by Plaintiff to recover a windfall above what
   Foresters already paid her under the Certificate, and to do an end run around Fla. Stat. § 624.155,
   which precludes her from asserting a bad faith claim against Foresters. Since Plaintiff filed this
   breach of contract action, Foresters paid the Death Benefit under the Certificate plus interest, and
   agreed to pay reasonable attorney’s fees and recoverable costs through the date of partial
   settlement, and thereby cured all alleged violations in Plaintiff’s Civil Remedy Notice (“CRN”).
   As a matter of public policy, when an insurer pays a claim, the insured may not pursue a bad faith
   action because “the 60 day window is designed to be a cure period that will encourage payment of
   the underlying claim, and avoid unnecessary bad faith litigation.” 1 Plaintiff’s request for extra-
   contractual damages which were not contemplated by the parties at the time of the sale, and her
   fraud claim, is nothing more than an inappropriate attempt to destroy the purpose and intent of the


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              Talat Enterprises, Inc. v. Aetna Cas. And Sur. Co., 753 So.2d 1278, 1282 (Fla. 2000).
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   Florida Legislature’s enactment of the cure provisions of 624.155 and should not be countenanced
   by this Court.
                            II.     STATEMENT OF MATERIAL FACTS
             Pursuant to Rule 10(c) and Local Rule 56.1, Foresters adopts by reference its Statement of
   Material Facts (“SOF”), which is being filed contemporaneously with this Motion. Capitalized
   terms used in this Motion are as defined in the SOMF.
             By way of brief summary, on January 12, 2015, Mr. Vinas completed an Application for
   life insurance. [SOF ¶1]. Mr. Vinas declared that within the past 10 years he had not been
   diagnosed with, or received treatment or medication, tested positive, or been given medical advice
   for diabetes. [Id. ¶¶3-4]. Mr. Vinas also completed a Diabetes Questionnaire, in which he declared
   that “related to” the condition of diabetes, he never had kidney problems (including protein in his
   urine), or sensory problems. [Id. ¶¶8-9]. Mr. Vinas declared that the answers on his Application
   and Diabetes Questionnaire were true to his “best knowledge and belief.” [Id. ¶¶5, 11]. Based on
   these representations, Foresters issued the Certificate, insuring the life of Mr. Vinas for $92,000,
   effective January 26, 2015. [Id. ¶15].
             After Mr. Vinas died on January 11, 2017, Plaintiff filed a claim for the Death Benefit.
   [Id. ¶¶18-19]. Because Mr. Vinas died within the two year contestability period, Foresters
   performed a contestability investigation. [Id. ¶20]. Foresters received medical records from Mr.
   Vinas’s treating physician, Dr. Hershman, which repeatedly referred to diabetes and secondary
   issues.    [Id. ¶21]. Based on the number of times diabetes appeared in the records, Foresters’
   underwriter determined that Mr. Vinas did not answer the questions in his Application and
   Diabetes Questionnaire to his best knowledge and belief, and materially misrepresented his
   medical history. [Id. ¶¶23-24]. The underwriter concluded that had Foresters been aware of Mr.
   Vinas’s medical history, it would not have issued the Certificate. [Id. ¶25]. Therefore, by letter
   dated April 5, 2017, Foresters denied Plaintiff’s claim, rescinded the Certificate, and tendered a
   full refund of premiums. [Id. ¶26]. Foresters asked Plaintiff to provide any medical or other
   information she believed would show that Foresters’ decision was incorrect. [Id.].
             Instead of providing additional information, Plaintiff initiated this action.    Initially,
   Plaintiff filed a claim for breach of contract and sought the Death Benefit. Plaintiff amended this
   claim to add a request for consequential damages. [Id. ¶¶27-28]. Foresters served numerous
   discovery requests seeking information about Mr. Vinas’s knowledge and belief regarding his

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   history with diabetes and secondary conditions. [Id. ¶¶29, 31]. Plaintiff not only objected to every
   request, but on February 5, 2020, she filed a CRN alleging that Foresters denied her claim in bad
   faith. [Id. ¶¶29-31]. Plaintiff waited until March 26, 2020three years after Foresters asked
   Plaintiff to provide any evidence showing its decision was wrong, and with only 10 days remaining
   to investigate the allegations in the CRN—to provide a letter from Dr. Hershman stating that he
   never diagnosed Mr. Vinas with diabetes, or told him that he had diabetes. [Id. ¶32]. Immediately
   thereafter, Foresters issued a check to Plaintiff in the amount of $118,220.74, which included the
   $92,000.00 Death Benefit and $26,220.74 in interest, which compensated Plaintiff for the time
   between the loss and payment. [Id. ¶¶33-34].
          Despite being fully compensated, Plaintiff filed a Second Amended Complaint in which
   she claims that she is entitled to consequential damages for Foresters’ alleged breach, and asserted
   a new claim for fraud in the inducement. 2 Plaintiff’s breach of contract claim fails as a matter of
   law because it is moot, and the undisputed evidence shows that Foresters did not breach the
   Certificate, and Plaintiff is not entitled to consequential damages in this action. Additionally,
   Plaintiff’s fraud in the inducement claim fails because she lacks standing, and does not allege
   anything more than a fraudulent breach of contract claim in violation of Florida’s Independent
   Tort Rule. Further, the undisputed evidence shows that Foresters neither made any fraudulent
   representations, nor had the fraudulent intent to induce Mr. Vinas to purchase the Certificate.
   Accordingly, Foresters is entitled to summary judgment in its favor.
                      III.    INCORPORATED MEMORANDUM OF LAW
      A. Summary Judgment Standard
          Summary judgment is proper where, as here, the “materials in the record, including
   depositions, documents, electronically stored information, affidavits or declarations, stipulations
   (including those made for purposes of the motion only), admissions, interrogatory answers, or
   other materials” show “that there is no genuine dispute as to any material fact and the movant is



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            In Count II, Plaintiff asserted a claim for declaratory relief and requested a declaration
   that the Certificate was “valid and in full force and effect” when Mr. Vinas died. [Second Am.
   Compl. ¶¶21-29]. As Foresters states in its Motion to Dismiss the Second Amended Complaint,
   which Foresters incorporates by reference into this Motion, Count II should be dismissed as moot
   because there is no longer an actual controversy as to the validity of the Certificate. [MTD at 11-
   12, Doc. 95]. In Plaintiff’s response, Plaintiff “agree[d] that Count II has become moot.” [Plf.
   Resp. at 7, Doc. 102]. Accordingly, Foresters is entitled to judgment in its favor on Count II.
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   entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a), (c); see also Anderson v. Liberty
   Lobby, Inc., 477 U.S. 242, 248 (1986).
      B. Foresters is Entitled to Summary Judgment on Plaintiff’s Claim for Breach of Contract.
          Foresters is entitled to summary judgment on Count I of Plaintiff’s Second Amended
   Complaint for breach of contract. In Florida, to establish a claim for breach of contract, a plaintiff
   must establish that: (1) a contract existed; (2) there was a breach of contract; and (3) damages
   occurred. Bland v. Freightliner LLC, 206 F. Supp.2d 1202, 1210 (M.D. Fla. 2002). Foresters is
   entitled to judgment because it is moot and the undisputed evidence shows that Foresters did not
   breach the Certificate because it paid the Death Benefit once Plaintiff provided Dr. Hershman’s
   letter and Plaintiff did not experience any recoverable damages.
          1. Plaintiff’s breach of contract claim is moot.
          As a threshold matter, and as Foresters states in its Motion to Dismiss, Plaintiff’s breach
   of contract claim fails because it is moot. [MTD at 7]. Article III of the United States Constitution
   requires courts to decide only cases or controversies. See Lujan v. Defenders of Wildlife, 504 U.S.
   555, 559 (1992). However, a “case is moot when the issues presented are no longer ‘live’ or the
   parties lack a legally cognizable interest in the outcome.” Al Najjar v. Ashcroft, 273 F.3d 1330,
   1335-36 (11th Cir. 2001).     “Plainly, if a suit is moot, it cannot present an Article III case or
   controversy and the federal courts lack subject matter jurisdiction to entertain it.” Coral Springs
   St. Sys., Inc. v. City of Sunrise, 371 F.3d 1320, 1328 (11th Cir. 2004). As will be discussed in
   detail, there is no longer a “live” issue as to whether Foresters breached the Certificate because on
   April 8, 2020, Foresters issued a check to Plaintiff in the amount of $118,220.74, which included
   the $92,000.00 Death Benefit and $26,220.74 in interest. [SOF ¶34; Benefit Payment Check].
   Foresters fulfilled all of his obligations under the Certificate and made Plaintiff whole. Under the
   plain terms of the Certificate, Plaintiff is not entitled to any additional damages. Therefore, there
   is no Article III controversy for the Court to resolve with respect to Plaintiff’s breach of contract
   claim. Plaintiff’s breach of contract claim fails as a matter of law, and Foresters is entitled to
   judgment in its favor.
          2. Foresters did not breach the Certificate.
          Additionally, Plaintiff’s breach of contract claim fails because the undisputed evidence
   shows that Foresters did not breach the Certificate because it paid Plaintiff the Death Benefit, plus
   interest, as soon as she provided sufficient proof of loss. Plaintiff did not provide Foresters with


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   evidence that Dr. Hershman did not diagnose Mr. Vinas with diabetes or any complications from
   diabetes, and did not tell Mr. Vinas that he had diabetes or complications from diabetes, until
   March 26, 2020. [SOF ¶32; 3.26.20 Letter]. Until that time, Foresters reasonably believed that
   Dr. Hershman diagnosed Mr. Vinas with diabetes and related conditions, and that Mr. Vinas
   believed he had been diagnosed with such conditions, based on the number of times the conditions
   appeared in his medical records. [SOF ¶¶23-24; Buckland Tr. at 17:5-7, 21:10-13, Sullivan Tr. at
   138:5-9].      Specifically, Dr. Hershman’s records indicated that Dr. Hershman identified the
   following conditions under “assessment”:
           a.      Diabetes mellitus type 2 or unspecified type with renal manifestations on July 30,
                  2012, and August 19, 2014. [SOF ¶21; Hershman R. at 49, 60]]

           b. Diabetes mellitus type 2 or unspecified type with neurological manifestation on
              November 5, 2013, March 10, 2014, August 13, 2014, and December 15, 2014. [Id. at
              47, 51-52, 57].

           c. Neuropathy in diabetes on November 5 and 12, 2013, March 10, 2014, August 13,
              2014, and December 15, 2014. [Id. at 47, 51-52, 54, 57].

           d. Diabetes mellitus type 2 or unspecified type with peripheral circulatory disorder on
              November 5, 2013, March 10, 2014, August 13, 2014, and December 15, 2014. [Id. at
              47, 51-52, 57].

           e. Nephritis and nephropathy on August 19, 2014. [Id. at 49].

           As soon as Foresters received sufficient proof of loss, it approved Plaintiff’s claim. [SOF
   ¶31]. On April 8, 2020, Foresters issued a check to Plaintiff in the amount of $118,220.74, which
   included the $92,000.00 Death Benefit and $26,220.74 in interest. [SOF ¶34; Benefit Payment].
   Notably, Foresters paid interest at the rate of 8%, which is more than the 3.92% interest rate
   required by Fla. Stat. § 627.4615. See Fla. Stat. § 627.4615 (stating that the interest rate must be
   at least equal to the Moody’s Corporate Bond Yield Average-Monthly Average Corporate as of
   the day the claim was received, which was 3.92% on January 12, 2017, when Plaintiff filed her
   claim); see also Stewart v. Chesapeake Life Ins. Co., No. 5:17-cv-380-Oc-30PRL, 2017 WL
   4410097, at *2 (M.D. Fla. Oct. 4, 2017) (dismissing a breach of contract claim brought against a
   life insurance company because the insurance company “paid the entire death benefit,” and
   therefore “could not have breached the policy.”).        Therefore, Foresters did not breach the
   Certificate.


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          3. Plaintiff is not entitled to consequential damages .
           Despite the fact that Foresters paid the Death Benefit and interest, Plaintiff contends that
   she is entitled to recover consequential damages incurred as a result of the alleged delay in
   payment. “Consequential damages are ‘[l]osses that do not flow directly and immediately from
   an injurious act but that result indirectly from the act.’” See Kingship Hospitality, Inc. v. Am.
   Economy Ins. Co., No. 5:18-cv-520-Oc-30PRL, 2018 WL 6427681, at *2 (M.D. Fla. Dec. 5, 2018)
   (citing Black’s Law Dictionary (10th ed. 2014)); see also Keystone Airpark Auth. v. Pipeline
   Contractors, Inc., 266 So.3d 1219, 1222-23 (Fla. 1st DCA 2019) (“Consequential damages . . .
   stem from losses incurred by the non-breaching party in its dealings, often with third parties, which
   were a proximate result of the breach, and which were reasonably foreseeable by the breaching
   party at the time of contracting.”). Plaintiff’s claim for consequential damages fails both as a
   matter of law and fact.
          First, Plaintiff cannot recover consequential damages in this action because there is no
   genuine dispute that Foresters and Mr. Vinas did not contemplate these damages when they
   executed the Certificate. Under Florida law, a plaintiff may only recover consequential, or special,
   damages, if she can “prove the damages were within the contemplation of the parties when the
   contract was formed.” Trident Hospitality Fla., Inv. v. Am. Economy Ins. Co., No. 6:08-cv-289-
   Orl-22GJK, 2008 WL 11334515, at *2 (M.D. Fla. May 30, 2008) (citation omitted); DiDomenico
   v. N.Y. Life Ins. Co., 837 F. Supp. 1203, 1206 (M.D. Fla. 1993) (recognizing that consequential
   damages are unavailable to an insured who “proved that Defendant merely breached the insurance
   policy provisions without violating the [bad faith] statute or if [the insured] cannot prove that such
   damages were contemplated by the parties at the time they executed the policy.”); Macola v. Gov’t
   Empls. Ins. Co., 953 So. 2d 451, 455 (Fla. 2006) (recognizing that in breach of contract actions
   against an insurer, “damages [are] limited to those contemplated by the parties in the insurance
   policy.”); Talat, 753 So. at 1278 (“In the context of a first-party insurance claim, the contractual
   amount due the insured is the amount owed pursuant to the express terms and conditions of the
   policy.”); Manor House, LLC v. Citizens Prop. Ins. Corp., 277 So. 3d 658, 661-62 (Fla. 5th DCA
   2019) (holding that consequential damages are recoverable if contemplated by the parties when
   they entered into the agreement). 3 For example, in Swamy v. Caduceus Self Ins. Fund, Inc., 648


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            Florida’s Supreme Court granted review of Manor House to consider whether an insured
   to recover consequential damages in an action not brought under Fla. Stat. § 624.155.
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   So. 2d 758 (Fla. 1st DCA 1994), the court entered judgment in favor of the malpractice insurer
   and held that the insured could not recover “lost profits” and “damages to his professional
   reputation” based on the alleged breach of the duty to settle in good faith because these damages
   were not “within the contemplation of the parties to the insurance contract.” 4 Id. at 760.
          Here, too, the undisputed evidence shows that Mr. Vinas and Foresters did not contemplate
   Plaintiff’s expenses and debts when they entered into the contract. The Certificate’s merger clause
   precludes the argument that Foresters assumed the risk of any extra-contractual damages, let alone
   the type that Plaintiff seeks. The merger clause provides that the Certificate and application
   materials, inter alia, constitute the parties’ “entire contract,” which could not be modified by
   anyone. [SOF ¶26; Certificate at 10]. Further, Plaintiff testified that neither she nor Mr. Vinas
   spoke with Foresters prior to Mr. Vinas’s death. [Plf. Tr. at 64:15-25, 65:1-4]. Plaintiff and Mr.
   Vinas communicated solely with Mr. Vinas’s insurance broker, Jazmin Lightbourn, who did not
   discuss Mr. Vinas’s “financial situation,” expenses, and debt. [Id. at 64:15-21, 79:4-21]. Thus,
   such damages were not contemplated and are not recoverable.
          Because Foresters and Mr. Vinas did not contemplate any consequential damages, Plaintiff
   was not able to allege any such damages with particularity, as is required by Rule 9(g), and
   constitutes an additional ground to deny Plaintiff’s request. Plaintiff’s allegations “do not inform
   Foresters and the Court of the “nature of the damages claimed in order to avoid surprise.”
   Landsman v. City of Vero Beach, No. 13-14375-CIV-GRAHAM/LYNCH, 2015 WL 10960951
   (S.D. Fla. Oct. 21, 2015). In the Second Amended Complaint, Plaintiff claims that she is entitled
   to consequential damages “of unpaid debts, accruing interest, and defense costs in defense of the
   county court collection action and other expenses.” [Second Am. Compl. ¶19]. Throughout the
   discovery process, Plaintiff repeatedly modified, and added to, her list of consequential damages,
   and is causing the very “surprise” Rule 9(g) is intended to avoid. Plaintiff cannot rectify her
   deficient allegations by serving informal lists after the close of discovery and presenting argument
   in a summary judgment brief. Gilmour v. Gates, McDonald & Co., 382 F.3d 1312, 1315 (11th
   Cir. 2004) (“A plaintiff may not amend her complaint through argument in a brief opposing
   summary judgment.”). It is settled that “[ev]idence of special damages is inadmissible if those
   damages are not pled in the complaint.” Vaughn v. Producers Agric. Ins. Co., No. 1:14-cv-12-


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          The court construed the insured’s claim for failure to settle as a breach of contract claim.
   Swamy, 648 So. 2d at 76o.
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   MWGRJ, 2015 WL 12914150, at *3 (N.D. Fla. Jan. 23, 2015) (citation omitted).
          Specifically, on February 5, 2020, Foresters served its First Request for Production and
   asked for “[a]ll documents supporting Plaintiff’s claim that she sustained consequential damages
   as a result of Foresters’ decision to deny her claim for the death benefits.” [First RFP at p.13, No.
   21, Doc. 61-2]. Plaintiff refused to answer and said such documents were privileged. [Id.]. On
   March 24, 2020, Plaintiff served Initial Disclosures, which lacked any mention, much less a
   calculation, of consequential damages. Plaintiff stated: “Plaintiff’s damages can be computed by
   adding the amount of the life insurance policy proceeds to the amount of attorney’s fees due under
   Florida Statute §627.428 to the amount of prejudgment interest that has accumulated and will
   accumulate onto both the insurance proceeds and attorney’s fees.” [Initial Disclosures at 3, Doc.
   61-7 (emphasis added)]. 5 Even at Plaintiff’s deposition on October 16, 2020, she testified that she
   did not know precisely what her consequential damages were and did not calculate the amount.
   [Plf. Tr. at 79:22-25, 80:1-15]. Finally, on October 19, 2020, Plaintiff served an itemized list of
   her alleged consequential damages. Plaintiff requested: (1) $91,893 for a life insurance policy
   Plaintiff sold after Mr. Vinas died; (2) $1,200 to compensate Plaintiff for 3 years of home insurance
   (ie, mortgage insurance); (3) $3,200 for personal items (a bracelet and wedding ring) Plaintiff sold
   after Mr. Vinas died; (4) $3,400 in interest owed to American Express and Chase; (5) $4,500 in
   interest owed to Bank of America; (6) $43,180 in “loans” from friends and family; (7) $2,250 in
   attorney’s fees owed to Adrian Arkin for defense of action Bank of America’s collection action;
   and (8) an unknown amount for “seriously damaged credit.” [SOF ¶37; Plf. Consequential
   Damages]. The next day, Plaintiff amended her request to seek $3,213.37 in interest owed to Bank
   of America. [SOF ¶37; Plf. Am. Consequential Damages]. Plaintiff did not specifically request
   any of these damages in the Second Amended Complaint, and is therefore precluded from
   recovering these sums.
          Plaintiff’s request for consequential damages is also improper because she is seeking a
   double recovery. Although not alleged and difficult to discern, Plaintiff appears to claim that as a
   result of Foresters’ allegedly untimely payment, she experienced losses in the form of interest
   payments owed to American Express and Chase, attorney’s fees associated with a collection
   action, 3 years of home insurance, and “seriously damaged credit.” Plaintiff seeks to recover the


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            Plaintiff appears to acknowledge that interest fully compensated her for any harm
   sustained between the date of Mr. Vinas’s death and payment of the Death Benefit.
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   amount she allegedly paid to these institutions in addition to the amount she recovered from
   friends and the sale of a life insurance policy and personal items in order to pay the institutions.
   Essentially, Plaintiff seeks to recover the amount she paid, and separately to recover the amount
   of money she assembled in order to make the payment—this is, by definition, an improper double
   recovery.
          Further, Plaintiff cannot recover the $43,180 she received from friends and family because
   these were gifts, not loans, and Plaintiff was not required to re-pay them. Plaintiff testified that
   her friends knew the sums were not “borrowed,” and she “paid them as a gift” to show
   appreciation. [Plf. Tr. at 80:17-25, 81:1-3]. There is no legal basis to hold Foresters liable for
   Plaintiff’s generosity. Notably, there is not even a scintilla of evidence supporting that Plaintiff
   received funds from her friends. Plaintiff relies solely on the itemized list she prepared and
   produced during discovery. “Without more,” such as a receipt, contract, or evidence of a
   conversation with her friends, “a reasonable jury could not return a verdict finding that.” Bouey v.
   Orange Cnty. Service Unit, No. 6:14-cv-48-Orl-37GJK, 2015 WL 1894278, at *3 (M.D. Fla. Apr.
   27, 2015). “Conclusory, uncorroborated allegations by a plaintiff in an affidavit or deposition will
   not create an issue of fact for trial sufficient to defeat a well-supported summary judgment motion.
   Solliday v. Fed Officers, 413 F. App’x 206, 207 (11th Cir. 2011).
          Similarly, Plaintiff cannot recover consequential damages under the doctrine of avoidable
   consequences, which “prevents a party from recovering those damages inflicted by a wrongdoer
   that the injured party could have reasonably avoided.” Sys. Components Corp. v. Fla. Dep’t of
   Transp., 14 So.3d 967 (Fla. 2009). Here, after Foresters paid Plaintiff’s claim, she decided to pay
   off her mortgage, which was not due, and cover the rest of her expenses by selling personal
   property and her life insurance policy, and gifts from family and friends. [Plf. Tr. at 127:15-25,
   128:1-6]. Plaintiff could have continued paying $200 a month for her mortgage, but instead
   decided to pay it off rather than paying for her other alleged expenses. [Id. at 127:15-25, 128:1-
   25]. Plaintiff could have avoided her alleged consequential damages, and therefore they are not
   recoverable.
          Plaintiff also could have mitigated her damages by providing Foresters with Dr.
   Hershman’s letter stating that he did not diagnose Mr. Vinas with diabetes prior to March 26, 2020.
   In Foresters’ denial letter dated April 5, 2017—well before Plaintiff incurred any of these alleged
   consequential damages—Foresters stated: “If you have any medical or other information that you

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    think would show that the conclusions arrived at . . . are incorrect or incomplete, we ask that you
    provide us with all such information so we may conduct a further review.” [4.5.17 Letter at 3].
    Instead of providing additional information, Plaintiff initiated this action and waited almost three
    years to provide evidence that to Mr. Vinas’s knowledge and belief he did not have diabetes.
    Under Florida law, she may not recover these readily avoidable consequential damages.
           Additionally, there is no evidence that Foresters caused Plaintiff to incur any of these
    alleged damages. Plaintiff testified that some time prior to her husband’s death, she had $20,000
    in credit card debt. [Plf. Tr. at 76:14-21]. On the date of Mr. Vinas’s death, she had approximately
    $12,000 in credit card debt. [Id. at 78:18-21]. Therefore, Foresters’ allegedly belated payment
    did not cause Plaintiff’s inability to pay Bank of America, American Express or Chase. Plaintiff
    was unable to pay these entities while Mr. Vinas was alive. As such, Plaintiff is not entitled to
    recover the attorney’s fees she incurred in defending the collection against Bank of America.
    Plaintiff has failed to provide any evidence supporting that Foresters caused Bank of America to
    institute the collection action and necessitate the need for counsel, as Plaintiff owed money to Bank
    of America long before Mr. Vinas’s death.
           To the extent that Plaintiff claims Foresters’ alleged untimely payment caused her to incur
    interest on her already existing debt, she has failed to provide sufficient evidence. Plaintiff relies
    on a statement from American Express dated June 3, 2019, indicating that Plaintiff owed $110.98
    in interest, and a letter from Chase Bank dated May 16, 2018 setting forth a payment plan, but not
    stating the total amount owed or interest due. [Plf. Consequential Damage Docs at 2, 5].
    According to Plaintiff’s Bank of America records, on May 22, 2017, she was charged a total of
    $151.39 in interest for a cash advance. [Id. at 23]. Only $0.26 of that interest payment was
    “interest charged on purchases,” ie, her credit card balance. In May 2018, her outstanding interest
    remained $151.39. [Id.]. On December 22, 2018, she was charged additional interest of another
    cash advance—not on the principal amount owed. [Id. at 19]. Plaintiff’s conclusory statement
    that Foresters caused her to experience consequential damages, in the form of debt, interest or
    otherwise, is completely unsupported.
           Finally, Plaintiff also cannot recover for “seriously damaged credit.” Foresters’ obligation,
    if any, would be “to repay the actual debt owed, not the consequential damages of a poor credit
    rating and reputation resulting from the obligation.” Sharon v. Royal Caribbean Cruises Ltd., No.
    17-22323, 2017 WL 11220344, at *4 (S.D. Fla. Oct. 6, 2017). There is no evidence supporting

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    that Plaintiff was harmed by any alleged drop in credit, such as proof that she was rejected from a
    loan, as she was gifted funds by friends and family. Further, such damages are not recoverable
    because they cannot be proved with reasonable certainty. Harter v. Ohio Security Ins. Co., No.
    5:20-cv-268-Oc-30PRL, 2020 WL 6384159, at *1 (M.D. Fla. 2020) (“The Court notes that
    consequential damages may be recoverable in a breach of contract action if the damages were
    contemplated by the parties and can be proven with reasonable certainty.”).
    Therefore, Foresters is entitled to summary judgment in its favor on Plaintiff’s breach of contract
    claim.
           Additionally, Plaintiff is not entitled to consequential damages as a matter of law because
    Foresters paid Plaintiff interest to compensate her for time between the loss and the payment.
    Indeed, “[i]t is precisely for this delay in the payment of money that additional damages are
    allowed in the form of prejudgment interest.” Md. Cas. Co. v. Fla. Produce Distribs., Inc., 498 So.
    2d 1383, 1384 (Fla. 5th DCA 1986); see also Shideler v. Conn. Gen. Life Ins. Co., 563 So. 2d
    1082, 1084 (Fla. 5th DCA 1990) (Prejudgment interest is a legally recognized “means to transfer
    to the prevailing party the gain the losing party realized, or could have realized, from the use of
    the money during the relevant time period.”); Baxter v. Royal Indem. Co., 285 So. 2d 652, 657
    (Fla. 1st DCA 1973) 6 (“The penalty imposed by law on the insurer for its failure to settle [or
    resolve] the claim of its insured within a reasonable time is the payment of interest at the legal
    rate.”). “To charge the insurer prejudgment interest on the delayed payment of the money due and
    also charge it for the loss of use of the damaged property [ie, consequential damages] would be to
    make the insurer pay twice for essentially the same thing.” Fla. Produce Distribs., Inc., 498 So.
    2d at 1384-85.
           Finally, Plaintiff’s request should be denied as a matter of public policy. The Florida
    Supreme Court recognizes that “[t]he very purpose of life insurance is to provide a sanctuary from
    the rigors and uncertainties of age, unemployment, and other disabilities that eventually incumber
    all flesh, and to provide some assurance that those dependent on the insured will at least have bread
    when he is gone.” N.Y. Life Ins. Co. v. Kincaid, 122 Fla. 283, 298 (Fla. 1935); see also Sciaretta
    v. Lincoln Nat’l Life Ins. Co., No. 9:11-cv-80427-DM, 2013 WL 11317858, at *1 n.1 (S.D. Fla.
    May 6, 2013) (“The fundamental purpose of life insurance is to provide financial protection to the



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             Although Baxter was decided before Florida enacted Fla. Stat. § 624.155, its statement
    regarding the purpose of prejudgment interest remains viable.
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    living in the end of death.”). Accordingly, to achieve these ends, Mr. Vinas purchased the
    Certificate with a $92,000.00 Death Benefit, which Foresters agreed to pay. Plaintiff seems to
    believe that regardless of the face value of a life insurance policy, a beneficiary should be able to
    recover an amount sufficient to cover all debts when the insured dies. If Plaintiff’s request is
    granted, then taken to its logical end, a life insurance beneficiary would be able to recover all
    financial losses and expenses incurred anytime payment is allegedly delayed.
       C. Foresters is Entitled to Summary Judgment on Plaintiff’s Claim for Fraudulent
          Inducement.

           Foresters is entitled to summary judgment in its favor on Plaintiff’s claim for fraudulent
    inducement. Under Florida law, to prevail on a fraudulent inducement, a plaintiff must establish:
              (1) false statement of material fact or suppression of truth by the defendant;
              (2) the defendant knew or should have known the statement was false, or made
              the statement without knowledge as to its truth or falsity; (3) the defendant
              intended the false statement or omission would induce the plaintiff’s
              reliance; and (4) the plaintiff relied to his detriment.

    Latell v. Triano, No. 2:13-cv-565-FtM-29CM, 2014 WL 6240001, at *4 (M.D. Fla. Nov. 13, 2014)
    (citations omitted) (emphasis added). Plaintiff’s claim fails as a matter of law because the
    undisputed evidence shows that: (1) Plaintiff lacks standing; (2) Foresters did not make any
    fraudulent misrepresentations to induce Plaintiff to take any actions, and did not have the intention
    of fraudulently inducing Plaintiff to act; and (3) Foresters did not make any fraudulent
    misrepresentations to Mr. Vinas, and did not have the fraudulent intent to induce Mr. Vinas to
    purchase the Certificate.
           1. Plaintiff lacks standing to pursue a fraudulent inducement claim.
           As Foresters states in the MTD, Plaintiff lacks standing to pursue a fraudulent inducement
    claim against Foresters. [MTD at 13-14]. To establish standing for a fraudulent inducement claim
    based on a misrepresentation, “Plaintiff must demonstrate either (1) that the Defendant[‘]s
    misrepresentation was directly made to [her] and Plaintiff relied on the misrepresentation to [her]
    detriment; or (2) that Plaintiff was properly assigned the rights to pursue this claim by the original
    party to whom the misrepresentation was made and detrimentally relied upon.” Branch Banking
    & Trust Co. v. Appraisalfirst, Inc., No. 10-21141-CIV-GOLD/MCALILEY, 2010 WL 11596299,
    at *4 (S.D. Fla July 7, 2010)(citing Connecticut v. Health Net, Inc., 383 F.3d 1258, 1261 (11th
    Cir. 2004)). Plaintiff lacks standing under the first prong because there is no dispute that Mr. Vinas

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    owned the Certificate. Additionally, Plaintiff lacks standing under the second prong because there
    ¶is not even a scintilla of evidence supporting that Mr. Vinas assigned his right to Plaintiff to
    pursue a fraudulent inducement claim. 7
           2. Foresters did not make a false statement of material fact to induce Plaintiff to
              take any action, and Plaintiff did not rely on any of Foresters’ representations.

           Similarly, Plaintiff’s fraudulent inducement claim also fails because the undisputed
    evidence shows that Foresters did not make any fraudulent statements to induce Plaintiff’s
    reliance, and on which Plaintiff relied to her detriment. As stated, Mr. Vinas owned the
    Certificate, and there are no allegations, much less evidence, that Plaintiff relied on any of
    Foresters’ representations. Therefore, there is no evidence supporting the third and fourth elements
    of fraud in the inducement, and Plaintiff’s claim fails.
           3. Foresters did not make a false statement of material fact to induce Mr. Vinas to
              enter into a contract, which he relied on to his detriment.

           Plaintiff’s claim also fails because the undisputed evidence shows that Foresters did not
    make any false statements to induce Mr. Vinas to purchase the Certificate, and that Foresters did
    not have the fraudulent intent to induce Mr. Vinas to purchase the Certificate. Plaintiff claims that
    Foresters’ committed fraud because it did not intend to comply with the terms of the Certificate
    and timely pay her claim. Specifically, Plaintiff alleges that “the Policy provisions constituted
    specific representations to o [sic] by Foresters in the form of contractual promises and/or
    statements of present intention.” [Second Am. Compl. ¶32]. “Foresters false and fraudulently
    represented, through language in the Policy and incorporated Florida law, that in the event Mr.
    Vinas were to die from a non-excluded cause within the first two years following issuance of the
    Policy, Foresters would pay benefits under the Policy as long as Mr. Vinas answers Application
    questions to his best knowledge and belief.” [Id. ¶36]. Plaintiff alleges that this “representation
    was made to induce [Mr.] Vinas to pay premiums for the policy despite the fact that Foresters
    knew it had no intention to ever pay benefits if [Mr.] Vinas were to die during the first two years
    following issuance of the Policy even if Application answers were provided to Mr. Vinas’s best
    knowledge and belief. This statement was a false statement of material fact by Foresters to


           7
              As Foresters states in the MTD, Plaintiff’s status as third-party beneficiary gives her
    standing to seek benefits under the contract, but not to seek extra-contractual and punitive damages
    under a fraudulent inducement claim. [MTD at 14].
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    Rigoberto Vinas contained within the Policy language and incorporated Florida law.” [Id.
    ¶37(emphasis added)].
           Plaintiff’s claim fails as a matter of law because it violates Florida’s Independent Tort Rule.
    Under this doctrine, “a plaintiff may not pursue a tort theory of relief where a contract created the
    duty to act, performance is measured against the contractual obligations, and the contract provides
    the remedy for defective performance.” Nat’l Fire Ins. Co. of Hartford v. Johnson Controls Fire
    Protection LP, No. 19-14050-CIV-ROSENBERG/MAYNARD, 2019 WL 3428552, at *2 (S.D.
    Fla. Apr. 18, 2019). “In practical effect it bars a plaintiff from raising a tort cause of action that
    restates a breach of contract cause of action. For a tort claim to stand, it must be independent of
    the breach of contract claim.” Id. (emphasis in original). “In assessing whether fraud in the
    inducement is distinct from a claim arising under a contract, the critical inquiry focuses on whether
    the alleged fraud is separate from the performance of the contract.” Kaye v. Ingenio, Filale De
    Loto-Quebec, Inc., No. 13-61687-CIV, 2014 WL 2215770, at *5 (S.D. Fla. May 29, 2014).
    Notably, “statements or misrepresentations made to induce an individual to enter a contract, if
    later contained within the terms of the actual contract, cannot constitute a basis on which to
    bring the fraud claim.” Ben-Yishay v. Mastercraft Dev., LLC, 553 F. Supp.2d 1360, 1370 (S.D.
    Fla. 2008) (emphasis added).
           Here, Plaintiff alleges that Foresters fraudulently failed to comply with its promise to pay
    the Death Benefit if Plaintiff satisfied the Certificate’s the terms and conditions, which Plaintiff
    acknowledges is embodied in the Certificate. That is, Plaintiff alleges nothing more than “fraud
    in the performance,” not “fraud in the inducement,” which “is not actionable alongside a breach
    of contract claim because the misrepresentations are interwoven and distinct from the heart of the
    contractual agreement.” Cutler v. Voya Financial, Inc., No. 18-20723-Civ-WILLIAMS/TORRES,
    2018 WL 4410202, at *8 (S.D. Fla. Aug. 23, 2018) (internal quotation and citation omitted)
    (dismissing a fraudulent inducement claim). 8 Plaintiff’s fraud claim is “inextricably intertwined
    with Plaintiff’s breach of contract claim,” and fails as a matter of law. See Lookout Mountain
    Wild Animal Park, Inc. v. Stearns Zoological Rescue & Rehab Ctr., Inc., 553 F. App’x 864, 865



    8
      A reading of Plaintiff’s allegations makes clear that he is alleging nothing more than that a
    “fraudulent” breach of contract, which is encompassed within Count I. See Second Am. Compl.
    ¶¶32, 36-39, 40, 45.


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    (11th Cir. 2014) (affirming the district court’s order dismissing various tort claims, including
    fraudulent inducement, because the “plaintiff ha[d] not identified any tortious acts that [we]re
    sufficiently independent of the alleged breach of contract to render the tort claims viable.”); Perez
    v. Scottsdale Ins. Co., No. 19-22761-Civ-Scola, 2019 WL 5457746, at *4 (S.D. Fla. Oct. 24,
    2019)(dismissing a fraudulent inducement claim because “the misrepresentations alleged [were]
    in the performance of the contract.”); Kaye, 2014 WL 2215770 at *5 (dismissing a fraudulent
    inducement claim because “[w]hile the initial promise may have been fraudulent, the terms of the
    purported fraud were memorialized in the License Agreement,” and therefore, “any failure to
    comply with those terms results in an action for breach of contract.” ).
           Plaintiff acknowledges that “fraud cannot be predicated upon a mere promise not
    performed.” Noack v. Blue Cross & Blue Shield of Fla., Inc., 742 So. 2d 433, 434 (Fla. 1st DCA
    1999); Mejia v. Jurich, 781 So. 2d 1175, 1177 (Fla. 3d DCA 2001) (“An action for fraud generally
    may not be predicated on . . . promises of future action, but rather must be based on a statement
    concerning a past or existing fact.”). However, Plaintiff attempts to rely on a limited exception to
    this rule which allows a plaintiff to pursue a fraud in the inducement claim “where it can be shown
    that the promisor had a specific intent not to perform the promise at the time the promise was
    made, and the other elements of fraud are established.” Noack, 742 So. 2d (emphasis added);
    Mejia v. Jurich, 781 So. 2d at 1177. Plaintiff fails to acknowledge that the misrepresentation, or
    fraudulent statement itself, must be extraneous to the contract, and separate from the breach.
    Florida’s Supreme Court recognizes that fraudulent inducement “normally occurs prior to the
    contract and the standard of truthful representation placed upon the defendant is not derived from
    the contract.” HTP, Ltd. v. Lineas Aereas Costarricenses, S.A., 685 So.2d 1238, 1239 (Fla. 1996).
    Here, Plaintiff simply points to the Contestability Clause, and states that Foresters’ alleged breach
    of that clause means that it must not have intended to perform. Plaintiff does not point to a single
    statement extraneous to the Certificate to support her fraud in the inducement claim. A reading of
    Plaintiff’s allegations makes clear that he is alleging nothing more than that a “fraudulent” breach
    of contract, which is encompassed within Count I. See Second Am. Compl. ¶¶32, 36-39, 40, 45.
    Accordingly, Plaintiff’s fraud in the inducement claim fails as a matter of law.
           However, even if the Court finds that Plaintiff has stated a valid claim for fraud in the
    inducement, Plaintiff’s claim still fails because there is not even a scintilla of evidence supporting
    that Foresters had the “fraudulent intent” to not pay the Death Benefit if Plaintiff satisfied the other

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    terms and conditions of the Certificate when it issued the Certificate. There is no dispute that Mr.
    Vinas died within two years of the Certificate’s effective date and that Foresters was entitled, under
    Florida law and the terms of the Certificate, to conduct an incontestability investigation. [SOF
    ¶¶23, 24, 27; Certificate at 14; Fla. Stat. § 627.255]. Further, the undisputed evidence shows that
    none of the individuals involved in sales or marketing of Foresters’ products had any awareness
    or knowledge of the claims or underwriting process and an applicant’s knowledge and belief.
    [Parrot Tr. at 32:5-25, 33:1-2, 33:15-25, 34:1-20]. As such, none of the individuals involved in
    the sale of the Certificate could have harbored the fraudulent intent to deny any claim filed during
    the contestability period.
           Additionally, the undisputed evidence shows that Foresters meaningfully considered
    whether Mr. Vinas’s representations in the Application and Diabetes questionnaire were true to
    his best knowledge and belief. Foresters reasonably determined that based on the number of times
    diabetes and diabetic-related conditions appeared in the records, Dr. Hershman must have
    discussed the condition with Mr. Vinas, and therefore Mr. Vinas must have known that he had
    diabetes or a related condition. Specifically, under the “assessment” section, Dr. Hershman listed
    the following conditions:
           f. Diabetes mellitus type 2 or unspecified type with renal manifestations on July 30, 2012,
              and August 19, 2014. [Id. at 49, 60].

           g. Diabetes mellitus type 2 or unspecified type with neurological manifestation on
              November 5, 2013, March 10, 2014, August 13, 2014, and December 15, 2014. [Id. at
              47, 51-52, 57].

           h. Neuropathy in diabetes on November 5 and 12, 2013, March 10, 2014, August 13,
              2014, and December 15, 2014. [Id. at 47, 51-52, 54, 57].

           i. Diabetes mellitus type 2 or unspecified type with peripheral circulatory disorder on
              November 5, 2013, March 10, 2014, August 13, 2014, and December 15, 2014. [Id. at
              47, 51-52, 57].

           j. Nephritis and nephropathy on August 19, 2014. [Id. at 49].

    Foresters’ claims adjuster, Lisa Buckland, testified that in Mr. Vinas’s medical file, diabetes “was
    documented so many times that [she] would think that he was aware of his condition.” [Buckland
    Tr. at 17:5-7, 21:10-13]. David Sullivan, Foresters’ Assistance Vice President of Claims, also
    testified that “[i]n [Foresters’] review of the records, it would seem, with the number of


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    assessments for the diabetes condition, and the complications, that a reasonable person would
    expect that physician to tell their patient of those conditions.” [Sullivan Tr. at 138:5-9]. Dr. Frager,
    Foresters’ expert, opined that based on “the number of times diabetes and related complications
    appeared in Mr. Vinas’s records, it would be reasonable to assume that Mr. Vinas was being
    followed for diabetes and secondary conditions.” [Frager R. at 3].          “Anyone reviewing these
    records would reasonably determine that Dr. Hershman adhered to standard protocol and discussed
    diabetes and secondary complications with Mr. Vinas, including nephropathy and neuropathy.
    Based on these records, Mr. Vinas must have been aware of these conditions.” [Id.]
            The fact that Foresters’ underwriting department initially approved Mr. Vinas’s
    Application and issued the Policy, and then later determined that he did not answer the questions
    to his best knowledge and belief is not evidence of fraudulent intent. The initial decision to issue
    the Certificate depends only on the information Foresters has in its possession. [Parrot Tr. at 50:6-
    25, 51:1]. Douglas Parrot, Foresters’ Chief Underwriter, testified that “[t]he application lays out
    the responsibilities of the customer to answer those questions to the best of their knowledge and
    belief. [Foresters] rel[ies] on the transparency of the customer to tell [it] what it is that they know.
    [Foresters] also rel[ies] on a number of different data elements that [it] secure[s] on every customer
    for background, underwriting background, underwriting investigation, information to corroborate
    information.” [Id. at 50:6-14]. Indeed, Florida Statute section 627.404(3) provides that an insurer
    is entitled to rely upon the statements made by an insured in the application. Fla. Stat. §
    627.404(3). The only exception is when the insurer has “actual or constructive knowledge that
    such representations are incorrect or untrue.” Certain Underwriters at Lloyd's London v. Jimenez,
    197 So. 3d 597, 601 (Fla. 3d DCA 2016). Once Foresters obtained the MIB alert that Mr. Vinas
    was diagnosed with diabetes, it immediately asked Mr. Vinas to complete a Diabetes Questionnaire
    and provide any information he thought necessary to clarify the issue. 9 At the underwriting stage,
    Foresters reasonably relied on the application materials. Notably, “there is no claims decision
    made at the time of underwriting [as to] whether they [the applicant] have been completely truthful
    . . . with their knowledge and belief, a contestable review will happen and a decision will come of
    that review.” [Parrot Tr. at 56:21-25, 57:1-3].


            9
             Mr. Vinas completed the Diabetes Questionnaire and represented that he did not have
    diabetes and had never been treated for diabetes. [Questionnaire at 2]. Foresters relied on this
    representation to issue the Certificate.
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            That is, Foresters does not make an actual determination regarding the insured’s best
    knowledge and belief until it conducts an incontestability investigation. “[W]hen a claim is made
    it then becomes the responsibility of the contestable claim review practice to make determinations
    around belief and knowledge.” [Id. at 50:16-20]. At that point Foresters has “the right to review
    that information and go back and review the information.” [Id. at 54:2-7]. The purpose of the
    contestable review “is to make sure that what [Foresters] learned at the front end when the case
    was issued is indeed accurate on the back end. If it’s accurate to what [Foresters] knew on the
    front end a claim would be paid.” [Id. at 86:14-18]. To conduct the incontestability investigation,
    Foresters obtained Mr. Vinas’s medical records, which it was not required to do during the
    underwriting process. It relied on the information in those records to find that Mr. Vinas did not
    answer the questions on the Application and Diabetes Questionnaire to his best knowledge and
    belief. Therefore, Plaintiff cannot rely on the fact that underwriting decided to the issue the
    Certificate as evidence of a fraudulent intent to deny a contestable claim based on a finding that
    the insured made a material misrepresentation.
            Notably, Foresters does not permit the original underwriter to be involved in an
    incontestability investigation for a policy that she approved.      [Id. at 204:15-25, 205:1-14].
    Foresters requires a new underwriter, who did not review the application materials, to perform the
    incontestability investigation as a form of checks and balances. [Sullivan Tr. at 205:1-4]. It
    “would be a conflict of interest” to have the same underwriter perform the contestability review.
    [Parrot at 114:6-8]. Plaintiff may not agree with the merits of this process, but the fact that
    Foresters has protocols in place to ensure an unbiased, fair incontestability investigation refutes
    Plaintiff’s contention that Foresters had the intent not to approve her claim when it issued the
    Certificate.
            Ultimately, there is not even a scintilla of evidence in this case supporting that Foresters
    issued the Certificate with the fraudulent intent to deny a contestable claim. The undisputed
    evidence demonstrates that Foresters did not harbor any fraudulent intentions when it issued the
    Certificate, and did not make any false statements of fact. As soon as it received information
    showing that Mr. Vinas’s statements during the application process were true to his best knowledge
    and belief, Foresters paid the claim.
            Notably, Plaintiff may not, at the summary judgment stage, attempt to hold Foresters liable
    for statements allegedly made by Ms. Lightbourn on an agency theory because she does not assert,

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    or even allude to, an agency theory in the Second Amended Complaint. Plaintiff acknowledges as
    much in her belated motion to file a third amended complaint. [SOF ¶38; Doc. 120]. When
    pursuing a claim based on an agency relationship, the plaintiff must allege the elements of an
    agency relationship, in addition the elements of the underlying claim. See Rojas v. Carnival Corp.,
    d/b/a Carnival Cruise Lines, 93 F. Supp. 3d 1305, 133 (S.D. Fla. 2015) (“Thus to hold a principal
    liable for the negligence of an apparent agent, a plaintiff must sufficiently allege the elements of
    apparent agency in addition to the elements of the underlying negligent act of the agent for which
    the plaintiff seeks to hold the principal liable. Plaintiffs appear to have overlooked this fact.”).
    Plaintiff’s Second Amended Complaint, and both of her prior pleadings, are devoid of any
    allegations regarding an agency theory, let alone an allegation that Ms. Lightbourn was Foresters’
    agent. It is settled that “[a] plaintiff may not amend her complaint through argument in a brief
    opposing summary judgment.” Gilmour v. Gates, McDonald and Co., 382 F.3d 1312, 1315 (11th
    Cir. 2004). The Eleventh Circuit “does not hesitate to apply the Gilmour rule by affirming
    summary judgment orders in favor of a defendant when a plaintiff tries to assert a new claim for
    the first time in a memorandum of law opposing a summary judgment motion.” Dawsey v.
    Carnival Corp., No. 16-23939-CIV-GOODMAN, 2018 WL 5251850, at *13 (S.D. Fla. Oct. 22,
    2018) (collecting Eleventh Circuit cases). “Similarly, Florida district courts are not reluctant to
    rely on Gilmour.” Id. (collecting Florida district court cases). “Given this procedural background,
    [Plaintiff] cannot now assert new claims for actual/apparent agency and therefore cannot rely on
    those doctrines to avoid summary judgment in favor of [Foresters].” Id.
           For example, in Dawsey, the Court held that the plaintiff could not pursue an agency theory
    against Carnival because “[s]he never asserted in any way—directly or indirectly, expressly or
    implicitly—those claims in her amended complaint (or in her initial complaint, for that matter).”
    Id. The held that she could not, “in a memorandum opposing a summary judgment motion, pursue
    for the first time an agency theory against Carnival.” Id. Here too, neither Plaintiff’s First
    Complaint, Amended Complaint, nor the operative Second Amended Complaint, asserted a fraud
    in the inducement theory based on an agency relationship. There is no valid reason why Plaintiff
    did not pursue this theory initially, as she has, at all times, known Ms. Lightbourn’s identity.
    Plaintiff cannot now, at the summary judgment stage, pursue an agency theory for the first time.
           In any event, Ms. Lightbourn did not make any fraudulent misrepresentations. Plaintiff
    alleges that Ms. Lightbourn told Mr. Vinas that a claim would not be denied based on

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    misrepresentations in the application if Mr. Vinas answered the questions to his best knowledge
    and belief.    For the reasons discussed, that statement is accurate, as Foresters performs
    contestability investigations if an insure dies within two years of a policy’s issuance, and approves
    claims if the evidence supports that the insured’s material representations were true to his best
    knowledge and belief and all of the policy’s other terms and conditions are satisfied.
            4. Plaintiff is not entitled to attorneys’ fees for fraud in the inducement.
            Foresters is also entitled to summary judgment on Plaintiff’s request for attorney’s fees
    under Fla. Stat. § 627.428 with respect to her fraud in the inducement claim. Section 627.428
    provides that upon entry of judgment against an insurer “under a policy or contract executed by
    the insurer,” the court shall award reasonable attorney’s fees in favor of the insured. Florida
    Supreme Court’s most recent applicable holding states: “[W]e hold that recovery for attorney’s
    fees under Section 627.428 requires an incorrect denial of benefits by the insurance company . . .”
    Johnson v. Omega Ins. Co., 200 So.3d 1207, 1219 (Fla. 2016) (emphasis added). 10 Plaintiff’s
    fraud in the inducement claim does not arise “under a policy or contract executed by the insurer,”
    as Section 627.428 requires, and does not seek to recover benefits due under a policy. Indeed,
    “one of the circumstances in which attorney’s fees consistently are not authorized under the statute
    is in actions in which an insured has prevailed against an insurer on a tort claim.” Hilson v. Geico
    Gen. Ins. Co., No. 8:11-cv-13-MSS-MAP, 2016 WL 3211474, at *6 (M.D. Fla. Mar. 31, 2016)
    (collecting cases); see also United Gen. Life Ins. Co. v. Koske, 519 So.2d 71, 72 (Fla. 5th DCA
    1988) (“Claimants in negligence actions are not entitled to attorney’s fees under this statute.”).
    Plaintiffs’ fraudulent inducement claim is a tort claim, and fees for its successful prosecution are
    not compensable under Fla. Stat. § 627.428. Therefore, Foresters is entitled to summary judgment
    to the extent Plaintiff seeks to recover fees for pursuit of her fraud in the inducement claim.
                                         IV.     CONCLUSION
            For the reasons set forth above, the Court should enter summary judgment in Foresters’
    favor, declare that Foresters is only responsible for reasonable attorney’s fees through April 13,
    2020, dismiss Plaintiff’s claims with prejudice, and award Foresters all other relief to which it may
    be legally and justly entitled.


            10
               Although Foresters agreed to pay Plaintiff reasonable attorney’s fees and taxable costs
    incurred in pursuing the Death Benefit with respect to Count I through the date the claim was paid
    Plaintiff is not entitled to attorney’s fees for her remaining claims.
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                                   CERTIFICATE OF SERVICE

           I certify that on December 4, 2020, I electronically filed the foregoing with the Clerk of
    the Court by using the CM/ECF system which will send a notice of electronic filing to the
    following:

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